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            EXHIBIT C
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
CHRISTOPHER GRIEF,

                                                     Plaintiff,           15-CV-7240
                                                                          (ADS)(AYS)
                 -against-

                                                                          STIPULATION
NASSAU COUNTY, SHERIFF MICHAEL SPOSATO,                                   AND ORDER OF
JOHN DOE 1, JOHN DOE 2, and JOHN DOE 3,                                   CONFIDENTIALITY
individually and in their official capacities

                                                      Defendants.
----------------------------------------------------------------------X

        The parties agree pursuant to Fed. R. Civ. P. 26(c), that the following provisions shall

govern the handling of confidential information and documents in this action:

    1. Definitions. For purposes of this agreement:

        (a). “Confidential Information” means any information which the designating party deems

confidential, including but not limited to information consisting of trade secrets, investigative

techniques, and/or procedures, know-how, proprietary data and/or commercial, financial, personal,

or personnel information which the designating party has maintained in confidence. It shall be the

duty of the party who seeks to invoke protection under this Agreement to give notice, in the matter

set forth hereinafter, of the documents and testimony to be covered hereby, and the duty of the any

other party or person to maintain confidentiality hereunder shall commence with such notice.

        (b). “Producing party” or “Designating party” shall mean the party (and its counsel) who

is producing information to another party and who deems that information confidential.

        (c). “Inspecting party” or “Non-designating party” shall mean the party (and its counsel)

who receives the confidential information supplied by the producing party.
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        (d). “Counsel” shall mean the law firm engaged by the plaintiff and the defendants to

represent them in this litigation.

        (e). “Document” shall include “writings, drawings, graphs, charts, photographs, phone

records, and any other data compilations from which information can be obtained, translated, if

necessary, by the respondent through detection devices into reasonably usable form” as set forth

in Rule 34(a) of the Federal Rules of Civil Procedure.

        (f). “Party,” in the case of a party to this action which is a corporation, means any officer,

director, shareholder, or employee of such party, all of whom shall be bound by the provisions of

this Confidentiality Agreement.

        (g). “Produce” means the transmission of any “document” during the course of and in

connection with this litigation, including appeals thereof, to a “party” or its “attorneys,” whether

voluntary or involuntary, whether pursuant to request or legal process, and whether in accordance

with the Federal Rules of Civil Procedure or otherwise.

        (h). “Person” means, in the plural as well as the singular, any individual, corporation, firm,

association, partnership, business trust, government body or any other legal or business entity,

unless specified herein to the contrary.

    2. Documents

        (a). Documents produced in the course of discovery herein (either formally or informally)

which the producing party deems to contain confidential information may be designated as

confidential by the producing party and the documents or portions thereof deemed to be

confidential which are copieds and delivered to counsel for the inspecting party shall be marked

“CONFIDENTIAL,.” or indicated by Bates number range in a cover letter or cover email.




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       (b). The producing party shall designate the document as confidential at the time of its

production and/or inspection by the inspecting party. The producing party’s failure to do so,

however, does not waive its right to designate that document or any portion thereof as confidential,

if within thirty (30) days after production, notification is given as to the confidential status of the

document. Should the inspecting party disseminate that document or the information contained

therein any time during the thirty days after production, the inspecting party shall be liable.

However, should the producing party fail to designate the document as confidential within thirty

(30) days after production, the inspecting party shall have no obligation, responsibility or liability

for, or with respect to, any pre-designation dissemination of that document or the information

contained therein.                                                                                        Commented [LT1]: County opposes the removal of this section.


   3. Deposition Testimony

       If confidential information is contained in deposition, trial or other testimony, the portions

of the transcript containing confidential information may be designated as containing confidential

information in accordance with this Agreement by notifying the other party (1) on the record, at

the time of the testimony, or (2) in writing, within thirty (30) days of receipt of the transcript of

the specific pages and lines of the transcript which contain confidential information. At any

deposition session when counsel for a party deems that the answer to a question will result in the

disclosure of confidential information within the meaning of this Agreement, counsel may direct

that the question and answer be transcribed separately from the remainder of the deposition and if

filed with the Court, shall be filed “under seal” in accordance with the District Court’s procedures

for documents filed under seal. A courtesy copy of the document shall be filed in a sealed envelope

marked in the manner set forth in Paragraph “5” hereof. When such a direction has been given,

the testimony shall be disclosed only to those individuals specified in Paragraph “6” hereof.



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Counsel for the party whose confidential information is involved may also request that all persons

other than the reporter, counsel and individuals specified in Paragraph “6” hereof leave the

deposition room during the confidential portion of the deposition. The failure of such other persons

to comply with a request of this type shall constitute substantial justification of counsel to advise

the witness that he/she need not answer a question seeking the revelation of confidential

information.be addressed by a call to the Court for guidance as to how to proceed. In the event

the court is unavailable and in the interest of proceeding with the deposition, questions seeking or

which would elicit disclosure of confidential information will be tabled until the matter can be

resolved with the Court.

   4. Interrogatory Answers

       If an interrogatory answer contains confidential information, the answer shall be provided

in a separate document, appended to the main body of answers and incorporated by reference

thereinthat information which is deemed confidential shall be indicated clearly and with

specificity. The response to the interrogatory in the main body of the answers should state:

“requests confidential information, see response in confidential addendum containing the

confidential information (e.g. affidavits, etc.), which response is incorporated fully herein by

reference.”                                                                                             Commented [LT2]: County opposes proposed changes to this
                                                                                                        section.

   5. Filing Under Seal

       Any confidential information including confidential portions of transcripts of depositions

or portions thereof, exhibits, answers to interrogatories, and responses to requests for admissions

which have therefore been designated as comprising or containing confidential information, or any

pleading or memorandum or other document purporting to reproduce or paraphrase such

information, if filed with the Court, shall be filed in accordance with the District Court’s



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procedures for filing documents under seal. A courtesy copy of the document shall be filed in a

sealed envelope(s) or other appropriately sealed containers on which shall be endorsed the title of

this action, an indication of the nature of its contents, the word “Confidential” and a statement

substantially in the following terms:

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       “CONFIDENTIAL. Filed Pursuant to a Confidentiality Agreement by and between
       Jeffrey Adam Rothman, Esq. and John Ware Upton Esq. as attorneys for Plaintiff
       and the Nassau County Attorney’s Office as attorneys for Defendants. Not to be
       opened nor the contents revealed except (1) to the Court and then resealed; and/or
       (2) by agreement of the parties; and/or (3) by prior order of this Court.”

       The party filing the documents shall serve notice upon all other parties that the above

procedure is being invoked.

       At the trial of this action or at any hearing relating to this action before any judicial officer,

subject to the rules of evidence and other order of the Court, a party may use any confidential

information for any purpose, provided that adequate prior notice of such use is given to counsel

for the opposing party to permit the opposing party the opportunity to obtain appropriate protection

from the Court, including a request to the Court that the courtroom be cleared of persons not subject

to the Agreement and that the Court employees be advised as to the terms of this Agreement.

   6. Individuals Subject to this Agreement

       (a). Each and every page or sheet of allAll portions of transcripts of depositions, exhibits,

answers to interrogatories and requests for admissions, copies thereof, other documents and all

information obtained by an inspection of files, facilities or documents by counsel for any party

pursuant to pretrial discovery in this action that have been designated by the other party as

compromising or containing its confidential information shall be marked designated as

“CONFIDENTIAL” as described in paragraph 2(a), supra, and shall be retained by the receiving

party’s counsel and shall not be disclosed or used by an non-designated person other than those

listed below.    Any material marked designated as “CONFIDENTIAL” shall be used for

prosecuting and/or defending the within action only, and for no other purpose without agreement

by opposing counsel. or authorization by the Court. Any unauthorized disclosure in violation of

the order shall be subject to discipline by the contempt powers of the Court.



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         (b). Confidential information shall not be disclosed to any person other than (i) a party to

this action and counsel for the parties to this litigation and office personnel employed or engaged

in the preparation for, or in aiding in the trial of this action; (ii) independent outside persons (i.e.

persons not employees of a party), not to exceed five, requested by counsel to furnish technical or

expert services1 or to give testimony with respect to the subject matter for the trial of this action;

and (iii) the Court including necessary secretarial and law clerk personnel assisting the Court.

         (c). Each person to whom disclosure may be made by counsel for a party shall first be

identified not less than ten (10) days before the disclosure, to counsel for the party designating the

information as confidential and shall, in a written instrument delivered beforehand to such counsel,

acknowledge that he/she is fully familiar with the terms of this Confidential Agreement and agrees

in writing, to comply with, and be bound by, such Agreement until modified by further Order of

the Court or by agreement of the parties hereto. Counsel for the designating party shall have the

right to object, in writing within five (5) business days after receiving the required identification,

to such disclosure to the person or persons selected by counsel for the non-designating party and

should such objection be made, no disclosure shall be made to such objected person without leave

of the Court.                                                                                                            Commented [LT3]: County opposes the removal of this section.


    7. Disclosure

         No person or party shall disclose to anyone not specified in Paragraph “6” any information

designated as confidential under this Agreement, without prior written consent of the designating

party or further order of this Court. Confidential information disclosed pursuant to this Agreement

shall not be used by a recipient thereof for any purpose other than for purposes of preparing this

action for trial without agreement by opposing counsel. or authorization by the Court..


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  All experts hired by the parties must sign an affidavit acknowledging that the information being provided is subject
to a confidentiality agreement and they agree to abide by the terms of said confidentiality agreement.

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   8. Restrictions of Disclosure

       The restrictions on dissemination of confidential information contained herein shall not

apply to information which, prior to disclosure hereunder, was in the possession of an inspecting

party or a person who, absent this Agreement, is under no restriction with respect to the

dissemination of such confidential information or to information which is public knowledge or

which, after disclosure, becomes public knowledge other than through an act or omission of a party

receiving the information designated as confidential., provided that iIf a party to this Agreement

who is to receive any confidential information disagrees with respect to its designation as

confidential information, in full or in part, it shall so notify the producing party in writing,

providing a brief statement setting forth the basis for its objection and the designation, and they

will thereupon confer as to the status of the subject information proffered within the context of this

Agreement within ten (10) days of the sending of such notice. If the recipient and producing

parties are unable to agree to the status of the subject information, any party to this Agreement

may raise the issue of the designation of such a status to the Court upon ten (10) days written

notice. The Court may raise the issue of designation of the confidential status without any request

from a party. In any disagreement over the designation of confidential information, the designating

party bears the burden of showing that the designated information is confidential information

within the scope of this Agreement. No party to this action shall be obligated to challenge the

propriety of such designation, and a failure to do so shall not preclude a subsequent challenge on

the propriety of such designation and shall not constitute an admission that any information is in

fact confidential.

       Documents and information shall not be designated as confidential to the extent that they

relate to the incident(s) underlying the Complaint in the action.



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   9. Reservation of Rights

       (a). This Agreement is intended to provide a mechanism for the handling of confidential

information and documents. for which there is no objection other than confidentiality. Each party

reserves the right to object to any disclosure of information or production of any document it deems

confidential on any other ground it may deem appropriate, and any party may move for relief from,

or general or particular modification of, the mechanism for maintaining confidentiality herein set

forth or the application of this Agreement in any particular circumstance.

       (b). Upon final termination of this litigation, within thirty (30) days, each party that is

subject to this Agreement shall assemble and return to the producing party all items containing the

producing party’s confidential information produced in accordance with this Agreement, including

all copies of such matter which may have been made, but not including copies containing notes or

other attorney work product that may have been placed thereon by counsel for the receiving party.

All copies containing notes or other attorney’s work product shall be destroyed promptly after final

termination by the receiving party who will so inform the disclosing party. As an alternative to

the return of all such confidential information, the recipient may destroy such confidential

information within thirty (30) days of final termination of the litigation. Promptly after the return

or destruction of items containing the producing party’s confidential information, the receiving

party shall by letter certify that all items containing the producing party’s confidential information

have been fully returned and/or destroyed, respectively. Receipt of all material returned to the

producing party shall be acknowledged in writing if requested by the receiving party and the

receiving party has specified what has been returned by it. This Agreement will survive the              Commented [LT4]: County opposes the removal of this section.


termination of the litigation and will continue to be binding upon all persons to whom confidential



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materials are produced or disclosed. All documents or information that have been deemed

confidential pursuant to this order, including all copies and non-conforming copies thereof, shall

remain confidential for all time. Once the Action has been resolved, including all appeals, the

confidential materials, including all copies and non-conforming copies thereof, shall not be used

by the Receiving Party for any purpose. without prior Court approval.                                 Commented [LT5]: A provision must be included for the return
                                                                                                      (or proof of destruction) of Confidential Information.

        (c). Nothing herein shall prevent disclosure of any confidential information (1) by the

producing party or (2) to any employee or officer of the producing party or (3) to any person, no

longer affiliated with the producing party, who either authored, in whole or part, or who received

the confidential information in confidence prior to the initiation of this litigation.

        (d). Nothing in this Agreement shall be deemed a waiver of any right any party otherwise

might have under the Federal Rules or the doctrines of attorney/client privilege, attorney work

product, or any other privileges.

        (e). This Agreement shall survive the final termination of this action with respect to any

confidential information. The Court shall retain jurisdiction over the parties and counsel for the

parties as necessary to enforce this Agreement.

    10. Signatures

        A facsimile or scanned image signature of this Stipulation and Order of Confidentiality has

the full force and effect of an original.




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                                 Confidentiality Agreement

                    Grief v. Nassau County et al., 15-CV-4720 (ADS)(AYS)

Dated: New York, NY

                                   , 20165


BY:
Jeffrey Adam Rothman
315 Broadway, Suite 200
New York, NY 10007
(212)227-2980

John Ware Upton
70 Lafayette Street, 7th Floor
New York, NY 10013
212-233-9300



Dated: Mineola, NY

                                   , 20165

CARNELL T. FOSKEY
Nassau County Attorney


BY:
Thomas Lai
Deputy County Attorney
One West Street
Mineola, New York 11501
(516) 571-6074
Attorney for the Defendant


SO ORDERED:



__________________________

United States Magistrate Judge


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                       ACKNOWLEDGMENT PURSUANT TO
                    STIPULATION OF CONFIDENTIALITY IN
                   Grief v. Nassau County et al., 15-CV-7240 (ADS)(AYS)


       I,                                                       hereby certify:

       I have read the terms of the Stipulation of Confidentiality in Grief v. Nassau County

et al., 15-CV-7240 (ADS)(AYS) and I agree to be fully bound by, and comply with, the

Stipulation of Confidentiality in all respects. I also submit, and waive any objection, to the

jurisdiction of the United States District Court for the Eastern District of New York (the "Court")

for the adjudication of any dispute concerning or related to my compliance with the

Stipulation and Order of Confidentiality. I understand that any violation of the terms of the

Stipulation and Order of Confidentiality may be punishable by money damages, interim or final

injunctive or other equitable relief, sanctions, contempt of court, or other or additional relief

as deemed appropriate by the Court.

                                                     Signature: ___________________________

                                                     Please print or type the following:

                                                     Name: ______________________________

                                                     Employer: ___________________________

                                                     Title: _______________________________

                                                     Work Telephone: _____________________

                                                     Home Telephone: _____________________

                                                     Mobile Telephone: ____________________

                                                     Home Address: _______________________

                                                     Email Address: _______________________




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